 

Case 1:08-cv-06156-JFK Document 38 Filed 04/06/09 Page 1 of 9

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

CASE NO. 08-CV-6156 (JFK)
TAMAM, ET AL., MEMORANDUM OF LAW OF
DEFENDANT MIDDLE EAST AND
AFRICA BANK IN SUPPORT

OF ITS MOTION TO DISMISS
FOR LACK OF PERSONAL
JURISDICTION

Plaintiffs,

VS.

FRANSABANK, ET AL.,
Defendants.

el i i i i i a

 

I. Introduction.

Middle East and Africa Bank (“MEAB”) hereby moves the Court to enter an Order
dismissing the Complaint pursuant to Fed. R. Civ. P. 12(b)(2). As grounds therefore, the
defendant argues that the Complaint fails, on its face, to show that this Court can lawfully
exercise personal jurisdiction over MEAB. '

I. The Allegations in the Complaint.

The Complaint describes a series of actions allegedly undertaken in Lebanon and Israel
by the terrorist organization known as Hizbullah, which actions allegedly caused the death of the
plaintiffs in this case. (Complaint { 11) There are no allegations, nor could there be, that any
action taken by MEAB directly caused any death or injury to anyone in the United States or
anywhere else. Instead, the Complaint merely sets forth conclusory allegations that each of the
defendants, either individually or allegedly in concert with others, “conspired with and aided and

abetted the terrorist organization Hizbullah by providing it with banking services.” (Complaint J

 

' MEAB also hereby adopts any and all motions filed by any of the co-defendants in this
matter.
 

Case 1:08-cv-06156-JFK Document 38 Filed 04/06/09 Page 2 of 9

2) The Complaint alleges that by providing banking services to entities alleged to be affiliated
with Hizbullah, MEAB and the other defendants “substantially assisted Hizbullah’s systematic,
murderous attacks against innocent civilians ...violated the law of nations in derogation of the
Alien Tort Claims Act (“ATCA”) 28 U.S.C. § 1350, and was both the cause in fact and
proximate cause of the direct and indirect injuries suffered by each plaintiff.” (Complaint { 4)
Beyond the sweeping general allegations and factually unsupported statements in the
Complaint, however, is an absolute paucity of specific factual allegations against MEAB.
Indeed, there are only two distinct allegations in the Complaint where MEAB is identified by
name. First, in § 41, MEAB is identified as having five bank locations in Lebanon and a
corresponding banking relationship with Wachovia Bank. Next, in 77, the plaintiffs allege that -
MEAB maintains one specific account that is allegedly an account that was used to collect and
distribute funds for the military branch of Hizbullah. There is no allegation that the listed
account was ever linked in any way to any actions taken by MEAB in New York or anywhere
else in the United States or anywhere in the world. There is no allegation that the identified

account, or any other, related to the Wachovia Bank relationship was used to collect or distribute

 

” The Plaintiffs’ reliance on general and conclusory allegations that Middle East and
Africa Bank supported international terrorism cannot save this Complaint from dismissal. As
this Court is well aware, these conclusory allegations alone cannot survive a motion to dismiss
made pursuant to Fed. R. Civ. P. 12(b)(6) for failure to state a claim. In re Terrorist Attacks on
September 11, 2001, 349 F. Supp.2d 765, 833 (S.D.N.Y. 2005)(“Terrorist Attacks I’). Plaintiffs’
reliance on these conclusory allegations is even more troubling because due to “the extreme
nature of the charges of terrorism, fairness requires extra-careful scrutiny of Plaintiffs
allegations as to any particular defendant.” Jd. at 831 (quoting Burnett v. Al Baraka, 274 F.
Supp.2d 86, 103-104 (D.D.C. 2003)(“Burnett IY’)). This is especially true here where the
plaintiffs, non-citizens of the United States, seek to hale into Court a banking company with no
ties to this jurisdiction for actions allegedly undertaken thousands of miles away in a foreign
land.
 

Case 1:08-cv-06156-JFK Document 38 Filed 04/06/09 Page 3 of 9

funds for the military branch of Hizbullah.’ In fact, there is no allegation that ties MEAB’s

relationship with Wachovia Bank to any act identified in the Complaint.

If. This Court Lacks Personal Jurisdiction over Middle East and Africa Bank.

 

The plaintiffs bear the burden of establishing personal jurisdiction over the defendant
MEAB. See In re Terrorist Attacks on Sept. 11, 2001, 349 F. Supp.2d 765, 804 (S.D.N.Y. 2005).
To survive a motion to dismiss, a plaintiff must make a prima facie showing of facts sufficient to
support a finding of personal jurisdiction. See id. at 809. “Conclusory, non-fact-specific
allegations” are insufficient to establish jurisdiction. Jazini v. Nissan Motor Co., Ltd., 148 F.3d

181, 184-185 (2nd Cir. 1998); see also Lehigh Valley Indus., Inc. v. Birenbaum, 389 F. Supp.

798 (S.D.N.Y. 1975), aff'd, 527 F.2d 87 (2nd Cir. 1975). Courts may “construe jurisdictional

 

allegations liberally and take as true uncontroverted factual allegations,” but “will not draw
‘argumentative inferences’ in the plaintiff's favor.” Mende v. Milestone Tech. Inc., 269 F.
Supp.2d 246, 251 (SDNY. 2003); see also In re Sept. 11 Attacks, 349 F. Supp.2d at 804. In
addition, due process requires that a plaintiff allege facts showing that a defendant has at least
“minimum contacts [with the forum]...such that the maintenance of the suit does not offend
traditional notions of fair play and substantial justice.” U.S. Titan, Inc. v. Guangzhou Zhen Hua
Shipping Co., 241 F.3d 135, 152 (2nd Cir. 2001) (quoting Calder v. Jones, 465 U.S. 783, 788

(1984) (internal quotations omitted)).
A. MEAB Has Not Transacted Business in New York.

In determining whether the Court can exercise personal jurisdiction over MEAB, the

 

> MEAB recognizes that these allegations must be taken as true for purposes of this
motion. MEAB denies in all regards that it has ever assisted any terrorist organization at any
time and in any manner.

-3-
 

Case 1:08-cv-06156-JFK Document 38 Filed 04/06/09 Page 4 of 9

Court must look to the law of the State of New York. Kronisch v. United States, 150 F.3d 112
(2nd Cir. 1998). Because there is no allegation in the Complaint that any injuries were suffered
by any of the plaintiffs in New York, or even in the United States, the Court must look to the
“transacting business” prong of the New York long arm statute to determine if it can exercise
personal jurisdiction over MEAB. That statute, CPLR 302(a)(1), provides for the exercise of
personal jurisdiction when a defendant “transacts any business in the state or contracts anywhere
to supply goods or services in the state.” To determine the existence of jurisdiction under CPLR
302 (a)(1), a court must decide (1) whether the defendant transacts any business in New York

and (2) whether the stated cause of action arises from such a transaction. Best Van Lines. Inc. v.

 

Walker, 490 F.3d 239, 246 (2nd Cir. 2007), citing Deutsche Bank Sec. Inc. v. Montana Bd. of

 

 

Invs., 7 N.Y.3d 65, 71 (2006). Courts look to the “totality of the defendant’s activities within the
forum to determine whether a defendant has transacted business in such a way that it constitutes
purposeful activity.” Sterling Nat’ Bank & Trust Co. of N.Y. v. Fidelity Mortgage Investors,
510 F.2d 870, 873 (2nd Cir. 1975) And, the cause of action must arise from the business
transaction that is relied upon to invoke personal jurisdiction. “A connection that is ‘merely

coincidental’ is insufficient to support jurisdiction.” Solé Resort, S.A. de C.V. v. Allure Resorts

 

Mgmt., 450 F.3d 100, 103 (2nd Cir. 2006).
This Court must dismiss Plaintiffs’ lawsuit against MEAB because Plaintiffs have failed .
to plead any nexus between MEAB and the United States, much less a nexus between MEAB’s
alleged business in New York and the injuries alleged in the Complaint. Indeed, other than the
fact that MEAB has a corresponding banking relationship with Wachovia Bank, Plaintiffs do not

allege that MEAB has any business contacts with the State of New York or anywhere in the

-4-
 

Case 1:08-cv-06156-JFK Document 38 Filed 04/06/09 Page 5 of 9

United States. As a matter of fact, the allegations in the Complaint disclose precisely the
opposite.

According to the allegations in the Complaint, MEAB is a bank operating in Lebanon.
(Complaint{ 41) There is no allegation that MEAB is or has never been, domiciled, organized or
incorporated in any form in the United States. There is no allegation that MEAB has ever been
licensed or registered to do business in the United States. There is no allegation MEAB has ever
solicited or accepted business within the United States. There is no allegation that MEAB has
any branch or office in the United States. There is no allegation that MEAB has ever advertised
in the United States. There is no allegation that MEAB owns or leases any real property in the
United States. And, there is no allegation that MEAB has ever transacted any business
whatsoever in the United States.

Thus, in support of the claim that this Court can exercise personal jurisdiction, Plaintiffs
allege only a correspondent banking relationship between MEAB and Wachovia Bank. Even this
allegation provides no basis for the exercise of personal jurisdiction over MEAB. Courts have
repeatedly found that a “correspondent bank relationship between a foreign bank and a New
York financial institution does not provide sufficient grounds to exercise personal jurisdiction

over a foreign bank.” Semi Conductor Materials v. Citibank Int’l PLC, 969 F. Supp. 243, 246

 

(S.D.N.Y. 1997) (cited in Terror Attacks I, 349 F. Supp.2d at 819). This Court has recognized
that a correspondent relationship with a U.S. based bank, absent additional allegations that are
lacking as to MEAB, does not satisfy due process requirements and requires dismissal. Terror
Attacks I, 349 F. Supp. 2d at 820. See also Leema Enterprises, Inc. v. Willi, 575 F. Supp. 1533,

1537 (S.D.N.Y. 1983)(‘“What is left, thus, is the bank’s mere maintenance of correspondent bank

-5-
 

Case 1:08-cv-06156-JFK Document 38 Filed 04/06/09 Page 6 of 9

accounts to facilitate international financial transaction or money transfers. This is not enough to
confer this court with personal jurisdiction over the defendant, especially where, as here, the
accounts are unrelated to the fraud alleged.”) As such, this Court cannot exercise personal
jurisdiction over MEAB.

B. No Other Theory of Law Provides for the Exercise of Personal Jurisdiction.

The plaintiffs further rely upon Fed . R. Civ. P. 4 (k) in their effort to establish personal
jurisdiction over MEAB. That effort too must fail. To establish general jurisdiction under
C.P.L.R. § 301, a plaintiff must allege that, as a result of a defendant’s contacts with New York,
the defendant is “engaged in a continuous and systematic course of ‘doing business’... to warrant
a finding of its ‘presence’ in this jurisdiction.” See Reers v. Deutsche Bahn AG, 320 F. Supp.2d —
140, 149 (S.D.N.Y. 2004) (citations omitted). When long-arm jurisdiction is based upon
contacts with the nation as a whole, a plaintiff must also demonstrate minimum contacts. Terror
Attacks I, 349 F. Supp. 2d at 808. Similarly, when a federal claim is made against a foreign
defendant not subject to jurisdiction in any state, ‘[p]ersonal jurisdiction based on Rule 4(k)
requires minimum contacts with the United States to satisfy Fifth Amendment due process
requirements.” Id. at 807, 811. Under that standard “a considerably higher level of contacts is
generally required” to plead general jurisdiction. See Helicopteros Nacionales de Colombia, S.A.
yv. Hall, 466 U.S. 408, 414-16 (1984). This Complaint fails in all respects to show sufficient
contacts to warrant the exercise of personal jurisdiction over MEAB under either of these tests.

In addition, to satisfy due process, plaintiff must properly allege some tortious act by a
defendant and allege facts showing that said defendant “expressly aimed” such a tortious act at

the forum. Calder, 465 U.S. at 789; Terror Attacks I, 349 F. Supp.2d at 816 (granting motion to

-6-
 

Case 1:08-cv-06156-JFK Document 38 Filed 04/06/09 Page 7 of 9

dismiss because plaintiffs must “allege personal acts by [the defendant] by which he purposefully
directed his activities at the United States.”) Moreover, a foreign defendant may be subject to
personal jurisdiction only where it “has good reason” to know that its conduct will have a
“direct” effect in the forum. See Leasco Data Processing Equip. Corp. v. Maxwell, 468 F.2d
1326, 1341 (2nd Cir. 1972) (exercise of personal jurisdiction based upon alleged effects in New
York “must be applied with caution, particularly in an international context”); S.E.C. v. Unifund
SAL, 910 F.2d 1028, 1033 (2nd Cir. 1990). As demonstrated below, plaintiffs’ allegations fall
far short of satisfying any of these jurisdictional requirements. There is no allegation that MEAB
ever purposefully availed itself of the right to transact business in New York and thus would

have no reason to believe it would be subject to the jurisdiction of this Court.

C. Plaintiffs Have Not Alleged That Middle East and Africa Bank “Purposefully
Directed” Any Act Toward The United States.

In the absence of continuous and substantial contacts giving rise to general personal
jurisdiction, plaintiffs must allege that Middle East and Africa Bank had minimum contacts with
the United States that satisfy the due process requirements of specific personal jurisdiction.
Specific jurisdiction will be established over a foreign defendant “if the defendant has
‘purposefully directed’ his activities at the residents of the forum and the litigation results from
alleged injuries which ‘arise out of or relate to’ those activities.” Burger King Corp. v.

Rudzewicz, 471 U.S. 462, 472 (1985) (quoting Keeton, 465 U.S. at 774 and Helicopteros, 466

 

USS. at 414). Only in those circumstances will a defendant have “fair warning that a particular
activity may subject [him] to the jurisdiction of a foreign sovereign.” Shaffer v. Heitner, 433

U.S. 186, 218 (1977). Nothing in this Complaint would justify the exercise of personal
 

Case 1:08-cv-06156-JFK Document 38 Filed 04/06/09 Page 8 of 9

jurisdiction on those grounds as none of the actions taken by MEAB indicate that it had fair
warning that it would be subject to the jurisdiction of this Court.

TV. Conclusion.

This Court should grant this motion as there is no legal or factual basis upon which this
Court can exercise personal jurisdiction over this defendant. The allegations in this Complaint
allege actions taken by terrorists in the Middle East with no corresponding allegation that MEAB
did anything that contributed to those actions. Importantly, there is no connection whatsoever
between the jurisdiction of this Court and the acts alleged in this Complaint. It is for that reason
that the plaintiffs cannot allege and do not allege any business connection between MEAB and
the United States much less the State of New York.

In closing, it simply offends traditional notions of due process to suggest that MEAB
should have to defend itself in this Court in a case where there are no witnesses, injuries, or
actions taken by anyone in this District. For this reason, personal jurisdiction cannot be

established in this matter and this case should be dismissed.

Edward B. MacMahon, Jr.

1307 New Hampshire Ave., NW
Second Floor

Washington, DC 20036

(202) 775-1307

(202) 775-1309 (facsimile)

Pro Hac Vice Pending

ebmjr@verizon.net

MIDDLE EAST AND AFRICA BANK
By Counsel
 

Case 1:08-cv-06156-JFK Document 38 Filed 04/06/09 Page 9 of 9

joll ib Le

Joshua L. Dratel

Law Offices of Joshua L. Dratel, P.C.
2 Wall Street, 3" Floor

New York, NY 10005

(212) 732-0707

(212) 571-3792
jdratel@joshuadratel.com

Certificate of Service

I hereby certify that on the 26" day of November, 2008, a true copy of the following was
sent via Federal Express Overnight Delivery to the following:

Aaron Schlanger, Esquire; Ari Ungar, Esquire; Gary M. Osen, Esquire; Joshua David
Glatter, Esquire; Samuel Miles Meriowitz, Esquire

Osen LLC

700 Kinderkamack Road

Oradell, NJ 07649

Attorneys for Plaintiffs

Jonathan D. Siegfried, Esquire

Lawrence S. Hirsh, Esquire

DEWEY & LEBOEUF, LLP

1301 Avenue of the Americas

New York, NY 10016

Attorneys for Defendants Fransabank SAL
and Banque Libanaise Pour Le Commerce

Tai H. Park, Esquire
Shearman & Sterling, LLP
599 Lexington Avenue

New York, NY 10022
Counsel for Bank of Beirut Sal

Christopher J. Houpt, Esquire

Mark G. Hanchet, Esquire

Mayer Brown

1675 Broadway, # 19

New York, NY 10019

Counsel for Banque Libano-Francaise Sal

 
  

LL

Edward B. MacMahon, Jr.

 
